 Case 1:23-cv-01102-RJJ-PJG ECF No. 7, PageID.523 Filed 10/17/23 Page 1 of 6




                          UNITED STATES DISTRICT COURT
                      IN THE WESTERN DISTRICT OF MICHIGAN


BRENDA TRACY, LLC, SET THE EXPECTATION,
A NON-PROFIT ORGANIZATION; JANE DOE 1;
JANE DOE 2; JANE DOES YET TO BE IDENTIFIED,
      Plaintiffs,
                                           Case No. 23-cv-1102
                                           Removed from the 30th Judicial Circuit
                                           Court, Ingham County
                                           (Case No. 23-0671-CZ)
v.


AGUSTIN ALVARADO; MEL TUCKER; JENNIFER Z. BELVEAL;
JOHN DOE(S) AND JANE DOE(S) IN POSSESSION OF RECORDS
WHOSE NAMES ARE KNOWN ONLY TO DEFENDANTS; FOLEY &
LARDNER, LLP,


      Defendants.


                    *** EXPEDITED CONSIDERATION REQUESTED***

Eric D. Delaporte (P69673)                        Jennifer Z. Belveal (P54740)
Gina Goldfaden (P86863)                           John F. Birmingham, Jr. (P47150)
DELAPORTE LYNCH, PLLC                             FOLEY & LARDNER, LLP
Attorneys for Plaintiff                           Attorneys for Defendants
210 State St., Suite B                            500 Woodward Ave., Ste. 2700
Mason, MI 48854                                   Detroit, MI 48226-3489
(517) 999-2626                                    (313) 234-7176




       COMBINED MOTION AND BRIEF FOR REMAND TO STATE COURT




                                       1
 Case 1:23-cv-01102-RJJ-PJG ECF No. 7, PageID.524 Filed 10/17/23 Page 2 of 6




       NOW COMES Plaintiffs Set the Expectation, Jane Doe 1, Jane Doe 2, and Jane Does yet

to be identified (hereinafter collectively “Plaintiffs”), by and through their attorney Eric Delaporte

of Delaporte Lynch, PLLC, and files this combined Motion and Supporting Brief for Remand to

State Court. In support of their Motion and Brief, Plaintiffs state as follows:

   1. Under 28 U.S.C. § 1447(c), a party may motion for remand based on any “defects” in the

       removal process within 30 days after filing of the Notice of Removal.

   2. Remand of a case to state court from federal court is appropriate “when the principles of

       abstention necessitate state, rather than federal, review.” Snyder v. Shelby Cty. Bd. of

       Educ., No. 2:14-cv-02048-dkv, 2014 U.S. Dist. LEXIS 195376, at *3 (W.D. Tenn. Mar.

       27, 2014).

   3. Plaintiffs’ First Amended Complaint contains eight Counts, seven of which are State law

       causes of action, and one of which is a Federal law cause of action.

   4. Notably, Plaintiffs seek to dismiss Count III, the sole Federal Claim, through its Request

       for Leave to Amend the Complaint, which Plaintiffs just filed pursuant to Fed. R. Civ. P.

       15(a)(2), which leave should be freely given in accordance with the Rule and long standing

       tradition. See, ECF No. 5.

   5. A Defendant may only remove an entire action that includes both federal and state law

       claims if “the action would be removable without the inclusion of the [federal question]

       claim. . . .” 28 U.S.C. § 1441.

   6. Plaintiffs’ Complaint is not removable without the inclusion of the sole federal claim.

   7. By removing the sole federal claim, respectfully, this Honorable Court no longer retains

       subject matter jurisdiction, and should remand the entire action back to the State Court.




                                                  2
Case 1:23-cv-01102-RJJ-PJG ECF No. 7, PageID.525 Filed 10/17/23 Page 3 of 6



  8. Expedited consideration is warranted, as the Emergency Temporary Restraining Order

     issued ex parte by the Honorable James S. Jamo of the 30th Judicial Circuit Court for the

     State of Michigan based on Plaintiffs’ showing of “immediate and irreparable harm based

     upon the publication of protected, personal, private, and sensitive business information

     related to sexual assault survivors and employees (both living and deceased), which was

     gathered in violation of Michigan law” is set to expire on October 20, 2023. ECF No.

     5-2.

  9. Plaintiffs have been unable to hold a hearing on the Preliminary Injunction (Count I of

     Plaintiffs’ Original and First Amended Complaint), because of Defendants’ Removal the

     day before the Preliminary Injunction hearing scheduled for October 17, 2023, in the 30th

     Circuit Court was to be heard. Id.

  10. If this Honorable Court fails to act expeditiously, the Emergency Temporary Restraining

     Order will expire before Plaintiffs are able to have their Motion for a Preliminary

     Injunction heard, thus, potentially exposing 20,000 business records, personal records,

     protected, personal, and private records, including records related to victims of sexual

     violence.

  11. Plaintiffs respectfully request that this Honorable Court grant their Request for Leave to

     Amend Complaint (eliminating the sole federal question), find that the Court lacks subject

     matter jurisdiction, and remand the remaining State law claims to the Michigan 30th

     Judicial Circuit Court.




                                              3
 Case 1:23-cv-01102-RJJ-PJG ECF No. 7, PageID.526 Filed 10/17/23 Page 4 of 6




       WHEREFORE, Plaintiffs respectfully request that this Honorable Court grant their Motion

to Remand to State Court.



Dated: October 17, 2023                                   DELAPORTE LYNCH, PLLC



                                                          By: __________________________
                                                                Eric D. Delaporte (P69673)
                                                                210 State St., Suite B
                                                                Mason, MI 48854
                                                                (517) 999-2626
                                                                Eric@DelaporteLaw.com




                                              4
 Case 1:23-cv-01102-RJJ-PJG ECF No. 7, PageID.527 Filed 10/17/23 Page 5 of 6




                                  Certificate of Compliance

        I hereby certify that the word count of the above document, six hundred and ninety-four
(694) words, does not exceed the limit of four thousand and three hundred (4,300) words specified
in LCivR 7.3(b)(i), absent the case caption, cover sheets, any table of contents, any table of
authorities, the signature block, attachments, exhibits, and affidavits. I used version 16.74 of
Microsoft Word for Mac to calculate the above word count.



Dated: October 17, 2023                                     DELAPORTE LYNCH, PLLC



                                                            By: __________________________
                                                                  Eric D. Delaporte (P69673)
                                                                  210 State St., Suite B
                                                                  Mason, MI 48854
                                                                  (517) 999-2626
                                                                  Eric@DelaporteLaw.com




                                               5
 Case 1:23-cv-01102-RJJ-PJG ECF No. 7, PageID.528 Filed 10/17/23 Page 6 of 6




                                      Certificate of Service

        I hereby certify that on October 17, 2023, I filed a copy of Plaintiffs’ Motion for Remand
to State Court inclusive of Exhibits through the Court’s Electronic Case Filing (ECF) System. As
such, Notice of this filing will be sent to the counsel of record for all Defendants registered with
the Court's ECF System.



Dated: October 17, 2023                                        DELAPORTE LYNCH, PLLC



                                                               By: __________________________
                                                                     Eric D. Delaporte (P69673)
                                                                     210 State St., Suite B
                                                                     Mason, MI 48854
                                                                     (517) 999-2626
                                                                     Eric@DelaporteLaw.com




                                                 6
